       Case 2:15-cr-00197-JTM-KWR Document 333 Filed 01/08/18 Page 1 of 2



                                          UNITED STATES  DISTRICT COURT
                                          EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                               CRIMINAL NO. 15‐197

VERSUS                                                                 SECTION "H"

DON MOSS
CURTIS DANTIN
GRAND ISLE SHIPYARDS, INC.
CHRISTOPHER SRUBAR            
                                       
                                    NOTICE OF ARRAIGNMENT
Take Notice that this criminal case has been set for ARRAIGNMENT on JANUARY 16, 2018 at 2:00
p.m., before U.S. MAGISTRATE JUDGE MICHAEL B. NORTH, Hale Boggs Federal Building, Courtroom
B407, 500 Poydras Street, New Orleans, LA 70130. 

             **IMPORTANT NOTE: PHOTO I.D. IS REQUIRED TO ENTER THE BUILDING**

PERSONS ON BOND MUST REPORT TO THE DEPUTY U.S. MARSHAL IMMEDIATELY OUTSIDE THE AFORESAID COURTROOM
FOR EVALUATION AND SEARCH 15 MINUTES PRIOR TO APPEARANCE.

DATE: January 8, 2018                                      WILLIAM W. BLEVINS, CLERK

                                                           by:    Bridget Gregory
TO:                                                                  Case Manager
Don Moss (On Bond)
                                                           AUSA: EMILY KATHERINE GREENFIELD 
TO:                                                              KENNETH E. NELSON
Curtis Dantin (On Bond)                                          NICHOLAS D. MOSES 

TO:
Grand Isle Shipyards, Inc.                                 U.S. Marshal

TO:                                                        U.S. Probation Office ‐ U.S. Pretrial Services
Christopher Srubar (On Bond)


(See page 2 for Counsel of Record)                         FOREIGN LANGUAGE INTERPRETER:

                                                                   NONE                                                   

                                                           Myles.Matthew@epa.gov
      Case 2:15-cr-00197-JTM-KWR Document 333 Filed 01/08/18 Page 2 of 2




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